Case 23-10831-MFW   Doc 1012-3   Filed 02/27/24   Page 1 of 4




                      EXHIBIT B

            SUMMARY OF DISBURSEMENTS
             Case 23-10831-MFW               Doc 1012-3        Filed 02/27/24              Page 2 of 4




LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                                Invoice                 6973765
27000 HILLS TECH CT.                                                               Date             Feb 20, 2024
FARMINGTON HILLS, MI 48331                                                        Client                 039963

RE: COSTS


                                                INVOICE

For professional services rendered in connection with the above captioned matter
through January 31, 2024:




Matter No.     Matter Name                                              Fees                Costs            Total
039963.0001 COSTS                                                        0.00              802.15           802.15
               Total                                                     0.00              802.15           802.15


                   Total Current Fees                                                                        $0.00

                   Total Current Costs                                                                     $802.15

                   Total Invoice                                                                           $802.15
              Case 23-10831-MFW    Doc 1012-3            Filed 02/27/24         Page 3 of 4
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                                    Invoice 6973765
RE: COSTS                                                                                    Page 2
February 20, 2024


                                  COST SUMMARY


Description                                                                                      Value
MEALS                                                                                             62.05
TRAVEL AGENT FEE                                                                                  30.00
WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                                     673.00
PACER                                                                                             35.90
COPIES                                                                                                1.20
          Total Costs                                                                            802.15




                                        INCLUDES ONLY TIME AND COSTS TO DATE
                             KINDLY RETURN ATTACHED REMITTANCE PAGE WITH YOUR PAYMENT
                                               PAYABLE WITHIN 30 DAYS

                                           TAX IDENTIFICATION # XX-XXXXXXX
Case 23-10831-MFW   Doc 1012-3   Filed 02/27/24   Page 4 of 4
